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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
v.                                                   §              CRIMINAL NO. 6:07-CR-082-5
                                                     §
TONYA JANAY HOUSTON                                  §


                            REPORT AND RECOMMENDATION OF
                            UNITED STATES MAGISTRATE JUDGE

        On August 17, 2010, the Court conducted a hearing to consider the government’s petition

to revoke the supervised release of Defendant, Tonya Janay Houston. The government was

represented by Richard Moore, Assistant United States Attorney for the Eastern District of Texas,

and Defendant was represented by Tab Lawhorn.

        Defendant originally pleaded guilty to Conspiracy to Possess with Intent to Distribute and

Distribution of Methamphetamine, a Class B Felony. The offense carried a statutory maximum

imprisonment term of 40 years. The United States Sentencing Guideline range, based on a total

offense level of 21 and a criminal history category of I, was 37 to 46 months. On December 15,

2008, District Court Judge Leonard Davis sentenced Defendant to 24 months followed by a term of

3 years of supervised release, subject to the standard conditions of release, plus special conditions

to include participation in a program of testing and treatment for drug abuse.1 On June 2, 2009,

Tonya Janay Houston completed her period of imprisonment and began service of the term of

supervised release.

        Under the terms of supervised release, Defendant was prohibited, in relevant part, from



        1
         Defendant received a downward departure for cooperation and she was sentenced to 24 months in prison
which was below the adopted guideline range of imprisonment.
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possessing a controlled substance, and if, as part of drug testing, a defendant tests positive for illegal

controlled substances more than three times over the course of one year, the Court shall revoke the

terms of supervised release to serve a term of imprisonment. 18 U.S.C. §§ 3583(g)(1), 3583(g)(4).

        In its petition, the government alleges that Defendant violated her condition of supervised

release by using and possessing methamphetamine on August 5, 2009 and May 4, 2010, a Grade

B violation.2 The government further alleges that Defendant was convicted on June 3, 2010, of

possessing methamphetamine in Harrison County, Texas. The government represents that Fifth

Circuit case law permits a court to find that illicit drug use constitutes possession for the offense.

        If the Court finds by a preponderance of the evidence that Defendant committed these

violations, a statutory sentence of no more than 3 years of imprisonment may be imposed. 18 U.S.C.

§ 3583(e)(3). Pursuant to § 7B1.3(a)(1) of the Sentencing Guidelines, violating a condition of

supervision by possessing methamphetamine would result in the Court revoking Defendant’s term

of supervised release in favor of a term of imprisonment. U.S.S.G. § 7B3.1(a)(1). Considering

Defendant’s criminal history category of I, the Guideline imprisonment range is 4 to 10 months.

U.S.S.G. § 7B1.4(a).

        At the hearing, the parties indicated that they had come to an agreement to resolve the

petition whereby Defendant would plead true to violating the conditions of supervision by

committing the acts as alleged in the government’s petition. In exchange, the government agreed

to recommend that Defendant serve 8 months in prison with no supervised release to follow.

        Pursuant to the Sentencing Reform Act of 1984 and the agreement of the parties, the Court

RECOMMENDS that Defendant, Tonya Janay Houston, be committed to the custody of the Bureau


        2
            Such an offense would also be in violation of Texas Health and Safety Code § 481.115.

                                                         2
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of Prisons for a term of imprisonment of 8 months with no supervised release to follow.

       The parties have waived their right to object to the finding of the Magistrate Judge in this
                 .
matter so this Report and Recommendation will be presented to District Judge Leonard Davis for

adoption immediately upon issuance.




               So ORDERED and SIGNED this 23rd day of August, 2010.




                                              ___________________________________
                                                         JOHN D. LOVE
                                              UNITED STATES MAGISTRATE JUDGE




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